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™*" Case 8:20-cr-00146-DOC Document 15 Filed 10/19/20 Page1of2 Page ID #:51
KATE CORRIGAN SEU [32226
CORRIGAN BOURN & STOKKE, APLC
AOE RENE OWT PLACE, SUITE 550
NEWPORT BEACH, CA 92660
AAA-25|-0330. i
UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA
CASE NUMEER

| SACRO -\4lo-DdT

PLAINTIFF, _

“1

 

UNITED STATES OF AMERICA

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“| CONSENT TO VIDEO/TELEPHONIC CONFERENCE

J aso") org AND/OR WAIVER OF DEFENDANT'S PRESENCE

DEFENDANT(S); [7] AND PROPOSED FINDINGS/ORDER

 

 

Chegk each that applies: me
of consent TO VIDEO CONFERENCE/TELEPHONIC CONEBRENCE [-] WAIVER OF DEFENDANT'S PRESENCE
1. Consent to Video Conference/Telephonic Conference

L AS Py) Fry A , understand that the U.S. Constitution, the Federal Rules of Criminal

Procedure, and/or one or more £utecal statutes may give me the right to have all the below-listed proceedings take place in person in
open-court. After consultation with counsel, I knowingly and voluntarily consent to the proceedings below instead taking place by
video conference or, if video conference is not reasonably available, by telephonic conference: ” |

' Check each that applies:

[_] Detention/Bail Review/Reconsideration Hearing(s) (18 U.S.C. Sec. 3142) of total Appearance (Fed. R. Crim. P. 5)

[-] Preliminary Hearing (Fed. R. Crim. P. 5.1) Ww. aignment (Fed. R. Crim. P. 10)

[> Pretrial Release Revocation Proceedings (18 U.S.C. Sec. 3148) Wve of Indictment (Fed. R. Crim. P. 7(b))
(_] Misdemeanor Pleas and Sentencings (Fed. R. Crim. P. 43(b)(2)) [-] Appearances under Fed. R. Crim. P. 40

CJ Probation and Supervised Release Revocation Proceedings (Fed, R. Crim. P. 32.1}

Note: to consent to an appearance by video or telephonic conference at one of the two proceedings listed below, you must also complete
the "Proposed Findings" section on page 2 of this form. ‘

[_] Felony Pleas (Fed. R. Crim, P. 11) f-] Felony Sentencings (Fed. R. Crim, P, 32)

2. Waiver of Defendant's Presence
I, , understand that the U.S. Constitution, the Federal Rules of Criminal

Procedure, and/or one or more federal statutes may give me the right to be present at all of the below-listed proceedings - in person,
by video conference, or by telephonic conference. After consultation with counsel, I knowingly and voluntarily waive my right to be
present in person in open court or by video conference or by telephonic conference at the proceedings below:

Check each that applies (and use Form CR-35 to waive the defendant's presence at other types of proceedings):
[~} Detention/Bail Review/Reconsideration Hearing(s) (18 U.S.C. Sec. 3142) [1 Waiver of Indictment (Fed. R. Crim. P. 7(b))
(-j Preliminary Hearing (Fed. R. Crim. P.5.1)_ - ( Appearances under Fed. R. Crim. P. 40
[7 Pretrial Release Revocation Proceedings (18 U.S.C. Sec. 3148) ,
L) Misdemeanor Pleas and Sentencings (Fed. R. Crim. P. 43(b)(2))
(J Probation and Supervised Release Revocation Proceedings (Fed. R. Crim. P. 32,1)
¥1!2. [Bo Z£ZEZ
Defe dant Signed for Defendant by Counsel for Defendant with
Defendant's Authorization [Check if applicable)

Date

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yt

‘ Date

" pleas and sentencings cannot be conducted other than in person in open court-unless the ju

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Thave translated this consent/waiver to the Defendant in the . language.

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Date Interpreter (if required) .
Signed for Interpreter by Counsel for Defendant with

O Interpreter's Authorization [Check if applicable]

Tam counsel for the Defendant herein. Prior to the Defendant signing this document or authorizing me to sign this document on the
Defendant's behalf, I fully advised the Defendant of the Defendant's above-referenced rights and consulted with the Defendant
regarding such rights and the Defendant's consent/waiver(s). J believe that the Defendant understands such rights and that the
Defendant's consent/waiver(s) are knowing and voluntary, and I concur with such consent/waiver(s),

ef Ses
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3. Proposed Findings Regarding Harm of Further Delay of Felony Plea or Sentencing

 

Pursuant to § 15002(b)(2) of the Coronavirus Aid, Relief, and Ecohomic Security ("CARES") Act and § 2 of Order of the Chief Judge
No. 20-043 (In Re: Coronavirus Public Emergency Use of Video and Telephonic Conference in Certain Criminal Proceedings), felony
dge makes specific findings that the plea
or sentencing “cannot be further delayed without serious harm to the interests of justice.” Accordingly, if the defendant intends to
consent to a felony plea or sentencing taking place by video conference or, if video conference is not reasonably available, by
telephonic conference, instead of in person in open court, the defendant must set forth below proposed findings sufficient to make

this showing.

 

 

 

 

4. Order Adopting Findings Regarding Harm of Further Delay of Felony Piea or Sentencing

Pursuant to § 15002(b)(2) of the Coronavirus Aid, Relief, and Rconomic Security ("CARES") Act and § 2 of Order of the Chief Judge
No. 20-043 (In Re: Coronavirus Public Emergency Use of Video and Telephonic Conference.in Certain Criminal Proceedings), I

hereby find that the:
(Lj Felony Plea (Fed, R. Crim. P. 11) ["] Felony Sentencing (Fed. R. Crim. P. 32)

in this case cannot be further delayed without serious harm to the interests of justice, for the reasons set forth above.

 

 

Date United States District Judge

 

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